Case 2:07-cr-00081-SAB   ECF No. 323   filed 09/18/07   PageID.605 Page 1 of 6
Case 2:07-cr-00081-SAB   ECF No. 323   filed 09/18/07   PageID.606 Page 2 of 6
Case 2:07-cr-00081-SAB   ECF No. 323   filed 09/18/07   PageID.607 Page 3 of 6
Case 2:07-cr-00081-SAB   ECF No. 323   filed 09/18/07   PageID.608 Page 4 of 6
Case 2:07-cr-00081-SAB   ECF No. 323   filed 09/18/07   PageID.609 Page 5 of 6
Case 2:07-cr-00081-SAB   ECF No. 323   filed 09/18/07   PageID.610 Page 6 of 6
